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                       UL 2221




Tests of Fire Resistive Grease
Duct Enclosure Assemblies




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UL Standard for Safety for Tests of Fire Resistive Grease Duct Enclosure Assemblies, UL 2221

Second Edition, Dated August 13, 2010

Summary of Topics

This New Edition of UL 2221 includes editorial revisions such as reference updates,
re-organization of sections, renumbering, and pagination. These revisions are considered to be
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APPENDIX B

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INTRODUCTION

1 Scope

1.1 These tests are intended to determine the fire resistance of grease duct enclosure assemblies. These
requirements limit the combustibility, the surface flammability, and the smoke generation potential of the     0
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coverings used to enclose the grease duct. In addition, these requirements evaluate the effectiveness of       n
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the combination of the grease duct and the enclosure as a fire rated enclosure system and through              3
penetration firestop system. as well as the enclosure's effect on the grease duct.
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1.2 The fire endurance ratings for grease duct enclosure assemblies are intended to regfster performance
during the period of fire exposure and are not intended to be interpreted as having determined the
acceptability of the grease duct assembly for use before or after fire exposure. The intent of these
methods is to develop data to assist others in determining the suitability of the grease duct assembly
where fire resistance is required.

1.3 These requirements are intended to evaluate the ability of grease duel enclosure assemblies
specified in 1.1 to contain an internal fire or repel an external fire during predetermined test exposures.
The test evaluates the grease duct assembly's resistance to fire, heat, and to a hose stream.

1.4 Requirements covering the construction and performance requirements of proprietary grease ducts
are contained in the Standard for Grease Ducts, UL 1978. All ducts, both proprietary and non-proprietary,
shall comply with installation requirements of the Standard for Ventilation Control and Fire Protection of
Commerc1al Cooking Operations, NFPA 96, and the International Mechanical Code.

1.5 Under these requirements a grease duct enclosure assembly is subjected to standard internal and
external fire exposures controlled to achieve specified temperatures throughout a specified time period.

1.6 During the internal fire exposure, one of two installation condltion methods shall be selected to
measure temperatures near or on the surface of the grease duct enclosure material away from the grease
duct. One method of temperature measuremenl rs intended for all Installations except for installations
within non-ventilated combustible enclosures. The second method of temperature measurement is
intended for installations within non-ventilated combustible enclosures.

1.7 These exposures by themselves are not intended to be representative of all fire conditions; conditions
vary with changes In the amount, nature, and distribution of fire loading, ventllatlon, compartment s1ze and
configuration, and heat sink characteristics of the compartment.

1.8 These requirements cover the measurement of the transmission of heat through the grease duct
assembly and the passage of heat and gases hot enough to ignite cotton waste.

1.9 These requirements provide a relative measure of fire performance under these specified fire
exposure conditions. Any variation from the construction or conditions that are tested, such as method of
assembly and materials, is not within the scope of this lest method .

1.10 The results of these tests represent one factor in assessing fire performance of grease duct
assemblies. These requirements prescdbe standard fire exposures for assessing the performance of
grease duct assemblies. Application of these test results to predict the performance of actual building
construction requires careful evaluation of test data.




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2 Units of Measurement

2.1 Values stated without parentheses are the requirement. Values in parentheses are explanatory or
approximate information.

3 Undated References                                                                                          0
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3.1 Any undated reference to a code or standard appearing in the requirements of this standard shall be       3
interpreted as referrlng to the latest edition of that code or standard.
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4 Glossary

4.1 For the purpose of these requirements, the following definitions apply.

4.2 FIRESTOP - Materials, lncludlng the grease duct, that fill the opening where the grease duct
passes through the supporting construction.

4.3 GREASE DUCT - The duct shall:

        a) Be constructed of steel not less than 0.055 lnch (1.40 mm) fn thlckness, or

        b) Be constructed of stainless steel not less than 0.044 inch (1 .12 mm) in thickness, or

        c) Comply with the requirements of the Standard for Grease Ducts, UL 1978.

The duct shall comply with requirements of nationally recognized standards and codes such as the
Standard for Ventilation Control and Fire Protection of Commercial Cooking Operations, NFPA 96, and
the International Mechanical Code.

4.4 GREASE DUCT ENCLOSURE MATERIALS - The insulating materials surrounding the grease
duct assembly. The grease duct enclosure materials also Include adhesives, encapsulating materials,
facers, fasteners, and banding required to secure the insulating materials in place.

4.5 SUPPORTING CONSTRUCTION - A floor slab that seals the top of the furnace from which the
grease duct assembly is suspended.

4.6 TEST ASSEMBLY - The combination of the test specimen and the supporting construction.

4.7 TEST SPECIMEN - An enclosed grease duct and, when the grease duct is suspended from the
supporting construction, the firestop.

4.8 UNEXPOSED SURFACE - The surface of the test specimen exposed to ambient air.




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PERFORMANCE

MATERIAL REQUIREMENTS

5 Surface Burning Characteristics
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5.1 Test method                                                                                               n
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5.1. 1 The grease duct enclosure materfals including adhesives, encapsulating materials, and facers shall     a
be evaluated in accordance with the Standard for Test for Surface Burning Characteristics of Building
Materials, UL 723. (The requirements contained ln UL 723 are also in the Standard Method of Test of
Surface Burning Characteristics of Building Materials, NFPA 255, and the Standard Test Method for
Surface Burning Characteristics of Building Materials, ASTM E84).

5.2 Performance criteria

5.2.1 The grease duct enclosure materials shall have a flame spread value of 25 or less.

5.2.2 The grease duct enclosure materials shall have a smoke developed value of 50 or less.

6 Serviceability

6.1 General

6.1,1 The serviceability of the insulating material used in the grease duct enclosure is to be determined
by tests conducted in accordance with the Standard Test Method for Hot-Surface Performance of
High-Temperpture Thermal Insulation, ASTM C411, and the Standard Test Method for Steady-State
Thermal Transmission Properties by Means of the Heat Flow Meter Apparatus, ASTM C518.

6.2 Hot-surface pe rformance

6.2.1 The grease duct insulation system including adhesives, encapsulating materials, and facers shall be
subjected to a service temperature in accordance with the Standard Test Method for Hot-Surface
Performance of High-Temperature Thermal Insulation, ASTM C411. The service temperature shall be the
temperature on the face of the grease duct enclosure material nearest the grease duct when equilibrium,
as described in 8.6; 1, is obtained during the internal fire test. The service temperature shall not exceed
S00°F (260°C} nor shall the ASTM C411 test temperature fall below 250°F (121°C) as specified in
Paragraph 604.3 of the International Mechanical Code.

6.2.2 The grease duct enclosure materials shall not flame, glow, smolder or smoke.


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6.3 Steady-state thermal transmission properties

6.3.1 Test method

6.3.1.1 Eight samples of the insulation material used in the grease duct enclosure are required.
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6.3.1.2 The thickness of the samples is to be that of a single layer of insulation material used to construct   n
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the test specimens for the internal and external fire tests.                                                    3(I)

6.3.1.3 All samples are to be conditioned for a minimum of 24 hours at 75 ±5°F (23.8 ±2.?°C) at a relative      -
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hum1dity of 50 ±5 percent.

6.3.1.4 Four samples are to be placed vertically in a rack with a space between each sample ranging from
3/8 inch to 3/4 inch (from 9 mm to 19 mm). The rack is to be placed in an air circulating oven preheated
to 500 ±5°F (260 ±2. 7°C) for a minimum 12-hour period. The oven is shut off and the samples allowed to
cool at 75 ±5°F (23.8 ±2J°C) for a minimum 12-hour period. This cycle is to be repeated 10 times. A~er
the tenth cycle, the samples are to be removed from the oven and allowed to cool for an additional
minimum 12-hour period.

6.3.2 Performance criteria

6.3.2. 1 When tested in accordance with the Standard Test Method for Steady-State Thermal
Transmission Properties by Means of the Heat Flow Meter Apparatus, ASTM C518, the average change
in thermal conductivity of the four samples placed in the oven shall not be greater than 10 percent of the
average thermal conductivity of the four samples not placed in the oven. The oven shall be maintained at
a temperature equal to the temperatvre on the face of the grease duct enclosure materiafs nearest the
grease duct when equilibrium, as described in 8.6.1 , is obtained during the internal fire test. The oven
temperature shall not be greater than 500°F (260°C).

7 Noncombustibility

7.1 Test method

7 .1.1 Insulation materials without surface adhesives, encapsulating materials, and facers shall be
evaluated in accordance with the Standard Test Method for Behavior of Materials in a Vertical Tube
Furnace at 750°C, ASTM E136.




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7.2 Performance criteria

7.2.1 The insulation materials shall meet the requirements of ASTM E136 for noncombustibility,

ASSEMBLY REQUIREMENTS

8 Internal Ffre Test

8.1 General

8.1.1 One of two installation conditions is simulated during the internal fire test. Condition A represents
all installation conditions except for installations within non-ventilated combustible enclosures which are
represented by Condition B.

8.1 .2 The test specimen is to be tested within an area having ventilation capable of maintaining the
buildup of carbon monoxide to Jess than 50 parts per million throughout the period of any test. The area
is to be free of extraneous drafts. The temperature of the test specimen is to be between 50 and 90°F (10
and 32°C) at the beginning of the tests. The room is to be constructed so that during any one test the
room temperature does not increase by more than 40°F (23°C) above the room temperature recorded at
the beginning of the test.

8.1 .3 The room temperatures are to be determined by a shielded thermocouple located centrally w1thih a
vertically oriented 6-inch (152 mm) length of aluminum painted 2-inch diameter (50.8 mm) steel pipe open
at both ends. The shielded thermocouple is to be located 24 ±2 inches (610 ±51 mm) from the vertical
unexposed surface nearest the thermocouple grid used to measure the internal duct temperature. The
elevation of the thermocouple is to be within 1 inch (25 mm) of the centerline of the horizontal portion of
the test sample.

8.2 Test specimen

8.2.1 The test specimen is to consist of a grease duct constructed of steel, not less than 0.055-inch
(1.40-mm) thick, or stainless steel, not less than 0.044-inch (1.12-mm) thick, with liquid tight welded or
brazed joints or seams and the bracing and supports in accordance with the specifications of the
International Mechanical Code, NFPA 96, or comply with the requirements of the Standard for Grease
Ducts. UL 1978. The grease duct is to be representative of the largest cross-sectional area and maximum
width-to-height ratio to be used.

8.2.2 The horizontal section of the grease duct is to be 9 ±1 feet (2.74 ±0.3m) long and the vertical
section 4.5 ±0.5 feet (1.37 ±0.15 m) in length. The horizontal section of the grease duct is to include
supports at maximum spacing, at least one access opening, and at least two joints, as shown in Figure
8.1. The weight of the grease duct on the supports is to represent the maximum load to be applied on the
grease duct enclosure materials. The grease duct is to include all fittings for which special methods of
insulation are required.




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                                                 Figure 8.1
                                            Grease duct assembly

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8.2.3 The test specimen is to be representative of the complete duct assembly, including insulation.
Insulation systems are to be installed ln accordance with the manufacturer's installation Instructions.

8.2.4 Prior to the test, the test specimen is to be representative of the condition that does exist in similar
construction in buildings. The condition is to be established by storage in air having 50 percent relative
humidity at 73°F (23°C). When conditioning to this level is not possible, the test is to be conducted when
the dampest portion of the test specimen has achieved an equilibrium moisture content corresponding to
drying in air having 50 to 75 percent relative humidity at 73 ±5°F (23 ±3°C).

Exception: These requirements are not required when:

        a) An equilibrium condition is not achieved within a 12-month conditioning period, or

        b) The construction is such that drying of the interior of the test specimen is prevented by
        hermetic sealing of the construction materials.

8.3 Temperature exposure

8.3.1 A gas fired premix burner assembly is to be used to supply flue gases to the test specimen.

8.3.2 The burner assembly is to be placed at the inlet of an insulated combustion chamber assembly, as
illustrated in Figure 8.2.




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                                             Figure 8.2
                               Insulated combustion chamber assembly


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                                                 INSULATED COMBUSTION CHAMBER


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                                                                                          STEEL DUCT

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                                                                                          2 INCH (5tmm). CERAMIC flBER
                                                            A                             INSULATION
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S4047C                             68 INCH {1727mm) 1.!IN            BURNER ASSEMBLY




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8.3.3 The minimum total length of the insulated combustion chamber is to be 150 inches (3810 mm).

8.3.4 Combustion is to be complete within the combustion chamber assembly. The insulated combustion
chamber assembly is to be connected to the grease duct by means of bolted or clamped flanges. The
flanges are to be welded to the combustion chamber and to the grease duct. A flow restrictor, at the outlet
of the grease duct, is to be used to adjust the flow rate of the flue gases to assist in obtaining the required
temperatures within the grease duct.

8.4 Temperature measurements

8.4.1 Flue gas temperatures are to be determined by a thermocouple grid as illustrated in Figure 8.3. The
thermocouples are to be located within the grease duct as illustrated in Figure 8.4. The thermocouples are
to be No. 18 gauge, Type Kor Type S inconel sheathed thermocouples with tips projecting 1/2 ± 1/ 16 inch
(25.4 ±1.5 mm) from the inner ends of the support tubes or an ungrounded thermocouple with a 1.0-mm
outside diameter sheath having maximum No. 24 gauge, Type K lead wires.




                                            Figure 8.3
                            Thermocouple locations flue gas temperatures
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                                                Figure 8.4
                                Thermocouple locations flue gas temperatures
                                                             GREASE
                                                             DUCT


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Four thermocouples localed fnslde the grease duct to measure flue gas temperature at mid-length of grease duol assembly (see
Figure 8.3).




8.4.2 Temperatures on the unexposed surfaces and temperatures within the non-ventilated combustible
enclosure for Condition B are to be measured with Type K (chromel-alumel) thermocouples of 24 AWG
(0.21 mm) wire. The wires are to be electrically insulated with heat- and moisture-resistant coverings
capable of withstanding a minimum single point temperature of 600°F (315°C). The thermocouples not
within the non-ventilated combustible enclosure are to be placed under flexible. dry, felted pads. The
properties of these pads are to comply with the requirements specified in Requirements for Thermocouple
Pads, Appendix B.

8.4.3 The wire leads of the thermocouple are to have an immersion under the pad and be in contact with
the unexposed surface for not less than 3 inches (76 mm). The hot junction of the thermocouple is to be
placed under the center of the pad. The pad is to be held firmly against the surface and is to fit closely
about the thermocouple.

8.4.4 The thermocouples within the non-ventilated combustible enclosure are to be attached to the wood
surfaces having a surface of the thermocouple adjacent to the grease duct enclosure material so as to
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have 1/2 lnch (12.7 mm) of wire exposed. The thermocouple is to be secured to the wood surfaces by
staples placed over the insulated portion of the wires. The thermocouple insulation and tip are to be
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depressed for a length of 1/2 inch (12.7 mm) into the wood so as to be flush with the wood surface at the                          ......
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point of measurement. The thermocouple is to be held in thermal contact with the surface at the point of
measurement by the use of 1-inch (25.4-mm) wide high-temperature paper masking tape painted flat
black after installatfon. See Flgure 8.5.




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                                              Figure 8.5
                         Thermocouple installation methods on wood surfaces

                                                      0.05 inch (1.3mm) Mox. Diameter Bead.
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 S2256              Staple Over Tope                              SECTION A-A




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8.4.5 Roving thermocouples are to be as shown in Figure 8.6. The measuring junction of the
thermocouple l s to consist of 1-mm diameter Type K thermocouple wire soldered or welded to a 12-mm
diameter, 0.5-mm thick copper disc. The thermocouple assembly is to be provided with a handle so it can
be applied over any point on the unexposed surface of the test specimen. The roving thermocouple is to
be applied until temperature equilibrium is reached but is to be removed if a temperature of 300°F (149°C)
is not reoorded within 20 seconds.


                                                    Figure 8.6
                                          Roving thermocouple assembly
                                             1                            2 .3       4




Dimensions In millimeters.


Key:

          1) Heal-resistant steel support tube of 13-mm diameter

         2) Twtn-bore ceramic insulator of 8.0-mm diameter

         3) Thermocouple wire of 1.0-mm diameter

         4) Copper dfsc of 12-mm diameter and 0.5-mm thickness



8.4.6 For Condition A. temperature readings are to be taken at no less than fifteen points on the
unexposed surface. Eight of these are to be symmetrically disposed, near the center of each side of the
specimen , on the minimum thickness of protection material, on the horizontal and vertical elements of the
protected duct, as shown in Figure 8.7, Two are to be placed around the edges of the cleanout access
covers and two are to be placed on the assembly support system adjacent to the insulation surrounding
the grease duct. The other thermocouples are to be located at the discretion of the testing body where It
is anticipated maximum temperatures will occur to obtain representative information on the performance
of the test specimen. These locations are to include vertical and horizontal joints in the grease duct
enclosure materials.
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8.4.7 For Condition B, a plywood enclosure as described in Figure 8.8 shall be provided.




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                                                    Figure 8.7
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NOTE: For Condition B , thermocouple numbers 3, 4 , 5 , 6, 7, 8, 9 , 10, 11 , 12, 13, 14 , and 15 is to be secured to wood surface. See
Figure 8.5.



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                                                      Figure 8.8
                             Installation within non-ventilated combustible enclosures



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                                                                                                      NON-VENTILATED COMBUSTIBLE
S4048C                                                                                                ENCLOSURE



     3/• INCH (1a mm) THICK PLYWOOD. SURFACE                                                 J/• INCH (la mm) THICK PLYWOOD. SURFACE
     or PlYWOOD FACING GREASE DUCl ENCLOSURE                                                 or PLYWOOO FACING CREASE DUCT ENCLOSURE
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                                                  MINIMUM DISTANCE 10 COMBUSTIBLE
                                               AS SPEC1nrn IN INSTALLATION INSTRUCTIOI\IS




 GREASE DUCT                                                                                                                  GREASE DUCT
 ENCLOSURE -++--+-                                                                                      - + - - - - t t - - ENCLOSURE
  1.tATtRIALS                                                                                                                  MATERIALS

                                                             GREASE DUCT




                             SECTION A-A                                             SECTION A-A

     NOTE:   ENOS Of PlYWOOD ENCLOSURE SEALEO WITH
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8.4.8 For Condition B, temperature readings are to be at no less than fourteen points within the enclosure
as shown in Figure 8.7. Within the enclosure, the thermocouples are to be located at a distance equal to
the clearance between the grease duct enclosure material and the combustibles. Two of the
thermocouples are to be placed around the edges of the cleanout access covers and two are to be p1aced
on the assembly support system adjacent to the insulation surrounding the grease duct. The other
thermocouples are to be located at the discretion of the testing body where it is anticipated maximum         0
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temperatures will occur to obtain representative information on the performance of the test specimen.         0
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These locations are to include vertical and horizontal joints in the grease duct and in the grease duct       3
enclosure materials.
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8A9 Temperatures on the surface of the grease duct enclosure materfal nearest the grease duct are to
be measured with 24 AWG, Type K thermocouples. The thermocouples are to be positioned beneath
locations 4, 5 , 6, and 7 as shown in Figure 8.7.

8.5 Integrity

8.5.1 The integrity of the test specimen is to be checked for passage of flame and hot gases using a
cotton waste pad in a wire frame provided with a handle.

8.5.2 The nominal 4- by 4- by 3/4-fnch (100- by 100- by 19-mm) cotton waste pads are to consfst of new,
undyed, and soft cotton fibers, without any admixture of artificial fibers, and each pad is to weigh 3 to 4
grams. The pads are to be conditioned prior to use by drying in an oven at 212 ±9°F (100 ±5°C) for at
least 30 minutes. After drying, the pads are to be stored in a desiccator for up to 24 hours.

8.5.3 The frame used to hold the cotton waste pad is to be formed of 16 AWG (1 .31 mm) steel wire and
is to be provided with a handle long enough to reach all points of the test assembly.

8.5.4 The cotton waste pad is to be held directly over an observed crack or hole in the test specimen , 1
± 1/4 inches (25.4 ±6 mm) from the breached surface, for a period of 30 seconds, Small adjustments in
the position of the cotton waste pad are not prohibited from being made when required to achieve the
maximum effect from the hot gases.

8.5.5 When no ignition (defined as glowing or flaming) of the cotton waste pad occurs during the
30-second application, "screening tests" involving short duration applications of the cotton waste pad to
areas of potential failure and/or the movement of a single pad over and around such areas are to be
made. Charring of the pad provides an tndicatlon of fmminent failure, and a previously unused cotton
waste pad is to be employed in a prescribed manner for an integrity failure to be confirmed.




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8.6 Conduct of fire test

8.6.1 The test is to be started with the grease duct and the test structure at room temperature. The gas
fired premix burner is to be regulated to produce a minimum flue gas temperature of 430' F (239°C) above
room temperature within 15 minutes, as determined by the thermocouple grid. The flow restrictor is to be
adjusted so that the heat input is to be a minimum of 925 Btu/hr per square inch of the cross-sectional        0
                                                                                                               0
area of the grease duct. The test is to be continued until equilibrium temperatures are attained on the        n
                                                                                                               C
unexposed surfaces of the test specimen and, for Condition B, equilibrium temperatures are also attained       3
within the non-ventilated enclosure. Equilibrium is determined when, after a minimum 4-hour exposure,
two or more consecutive readings at 5-minute intervals show a temperature rise of no greater than 2°F          -
                                                                                                               Ill
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(1.1°C).

8.6.2 Temperature data is to be recorded at maximum 5-minute intervals until temperature equilibrium is
recorded on the unexposed surface. After equilibrium, the temperatures shall be recorded at intervals not
exceeding 30 seconds.

8.6,3 After equilibrium temperatures are attained, the temperature of the flue gases entering the grease
duct ls to be increased to produce a minimum average flue gas temperature of 1930°F (1073°C) above
initial room temperature within 15 minutes, as determined by the thermocouple grid. The flow restrictor is
to be adjusted so that the heat input fs to be a min1mum of 4025 Btu/hr per square inch of the
cross-sectional area of the grease duct. T.he minimum average flue gas temperature is to remain 1930°F
(1073°C) above initial room temperatt:Jre for a time period of 30 minutes. After the 30 minutes, the burner
assembly is to be turned off.

8.6.4 For rectangular ducts, the cross-sectional area is to be modified when determining the minimum
heat input specified in 8.6.1 and 8 .6.3. For rectangular ducts, an equivalent diameter (DE) is to be
determined and the cross-sectional area (in square inches) would equal 3.14(DEJ'2)2, where

                                      DE = 1. 30(ab)0.625 / (a + b)025


in which:

        a =length of one side of the duct

        b = length of adjacent side of the duct

8.6.5 After the burner is shut off, the temperatures are to be monitored at 5-minute intervals until a
decrease In temperatures of the entlre assembly is recorded,




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8.7 Acceptance criteria

8.7,1 For Condition A, the test specimen shall comply with the following:

        a) At or before the equilibrium temperature is reached, any temperature measured 011 the
        unexposed surface of the test specimen shall not exceed 115°F (64°C) above the initial starting
        temperature during exposure in accordance with 8.6.1.

        b) At no time during the exposure to the flue gases shall the average temperature on the
        unexposed surface of the test specimen, as determined by thermocouple numbers 4, 5, 6, and
        7, exceed 250°F (139°C) above the lnitial starting temperature, or any individual temperature
        exceed 325°F (181'° C) above the initial starting temperature.

        c) During the exposure to the flue gases at either test temperature and during the subsequent
        cool down period, cotton waste on the unexposed surface shall not ignite.

        d) After the cool down period, the cross-sectional area of the grease duct shall not be reduced
        by more than 25% and there shall be any openings in the grease duct.

8.7.2 For Condition B. the test specimen shall comply with the fol lowing :

        a) At or before the equilibrium temperature is reached during exposure in accordance with
        8.6.1, any temperature measured on the non-ventilated combustible enclosure shall not exceed
        90°F (50°C) above the initial starting temperature.

        b) At no time during the exposure to the flue gases and subsequent cool down period shall the
        average temperature on the non-ventilated combustible enclosure, as determined by
        thermocouple numbers 4, 5, 6, and 7, exceed 250°F (139°C) above the initial starting
        temperature, or any individual temperature exceed 325°F (181°C) above the in1tial starting
        temperature.

        c) During the exposure to the flue gases at either test temperature and during the subsequent
        cool down period, cotton waste on the unexposed surface shall not ignite.

        d) After the cool down period, the cross-sectional area of the grease duct shall not be reduced
        by more than 25% and there shall not be any openings in the grease duct.




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9 External Fire Tests, General

9.1 Conditioning

9.1 .1 Prior to fire testing, the test assembly is to be representative of the .condition that does exist in
similar construction in buildings. The supportfng construction is permitted to be conditioned independently    0
                                                                                                               0
of the test specimen. The condition is to be established by storage in air having 50 percent relative          0
                                                                                                               C
humidity at 73"F (23°C). When conditioning to this level is not possible, the test is to be conducted when     3
the dampest portion of the test assembly has achieved an equilibrium moisture content corresponding to
drying in air having 50 to 75 percent relative humidity at 73 ±5°F (23 ±3°C).                                  -
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Exception: These requirements are not required when:

        a) An equilibrium condition is not achieved within a 12-month conditioning period, or

        b) The construction is such that d,ying of the interior of the test assembly is prevented by
        hermetic sealing of the construction materials.

In these cases, the conditioning is required to be continued only until the supporting construction has
developed strength to retain the test specimen securely in position.

9.1.2 The relative humidity within hardened concrete shall be determined with a method that uses an
electric sensing element.
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9.2 Furnace control                                                                                            ~
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9.2.1 The construction details of the test furnace are to include fuel bur!7ers, gas exhaust, observation      0
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ports, and devices for monitoring and controlling the furnace conditions. The furnace is to be equipped
with an adequate number of burners arranged in such a way as to provide un1form fire exposure of the           ~
                                                                                                               VI
test specimen.                                                                                                 -<
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9.2.2 The temperature in the test furnace shall follow the standard time-temperature curve shown in            "'
                                                                                                               3:
                                                                                                               VI
Figure 9.1. The points on the curve that determine its character are:                                          m
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        50 to 90°F (10 to 32°C) at 0 minutes                                                                   a
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                                                                                                               .:0
                                                                                                               (/)
        1000°F (538°C) at 5 minutes                                                                            z
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        1300°F (704°C) at 10 minutes

        1550°F (843°C) at 30 minutes

        1700°F (927°C) at 1 hour

        1850°F (1010°C) at2 hours

        2000°F (1093°C) at 4 hours

        2300"F (1260°C) at 8 hours




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                                                       Figure 9.1
                                                Time-temperature cu rve
   2400                                                                                                                                1315.6

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9.2.3 For a more precise definition of the temperature rise curve, see the Standard Time-Temperature
Curve for Control of Fire Tests, Appendix A.

9.2.4 The measured temperature to be compared with the standard time-temperature curve (Figure 9.1)
is to be the average temperature obtained from the readings of thermocouples symmetrically disposed
and distributed to indicate the temperature near all parts of the test spec1men.                                0
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9.2.5 At least three thermocouples are to be used with no fewer than five thermocouples per 100 square          3
feet (9,3 m2) of floor area. The junctions of the thermocouples are to be placed 12 inches (305 mrn) from
the exposed surface of the supporting construction.                                                             -
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9.2.6 Each furnace thermocouple is to be enclosed in a sealed protection tube. The exposed combined
length of protection tube and thermocouple in the furnace chamber is to be not less than 12 inches (305
mm).

9.2,7 The time constant of the protected tt,ermocouple assembly is to be within the range of 5.0 to 7.2
minutes. A typical thermocouple assembly complying with this constant requirement is capable of being
fabricated by fusion-welding the twisted ends of 18 AWG (0.82 mm) chromel-alumel wires, mounting the
leads in porcelain insulators, and inserting the assembly into a standard weight 1/2-inch [0.84-inch
(21 .3-mm) outside dfameter] black wrought iron, black wrought steel or lnconel pipe, and sealing the end
of the pipe that is inside the furnace. The thermocouple junction is to be inside the pipe, 1/2 inch (12.7
mm) from the sealed end.

9.2.8 The temperatures are to be read at intervals not exceeding 5 minutes throughout the fire test.

9.2.9 The temperature of the furnace is to be controlled so that the area under the measured
tirne-temperaJure curve (Figure 9. 1), obtained by averaging the results from the thermocouple readings, is
within:

        a) 10 percent of the corresponding area under the standard time-temperature curve for fire
        tests of 1 hour or less duration,

        b) 7.5 percent of the corresponding area under the standard lime-temperature curve for fire
        tests longer than 1 hour and not longer than 2 hours, and

        c) 5 percent of the corresponding area under the standard time-temperature curve for fire tests
        exceeding 2 hours in duration.

9.2.10 The differential pressure between the laboratory ambient air and the interior of the furnace is to be
calculated based on measurements taken near the vertical centerline of two opposing furnace walls as
appropriate, and based on the linear pressure gradient of the furnace. The linear pressure gradient of the
furnace is to be determined by the drfference in measured pressure of at least two pressure sensors
separated by a vertical distance in the furnace. The pressure sensors are to be located where they are
not subjected to direct impingement of convection currents. Tubing connected to each pressure sensor is
to be horizontal both in the furnace and at its egress through the furnace wall such that the pressure 1s
relative to the same elevation from the inside to the outside of the furnace.




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9.2. 11 The pressure sensors are to be either of the "T" type or the "tube'' type as illustrated in Figure 9.2
and are to be manufactured from stainless steel or other material capable of being used.


                                                Figure 9.2
                                             Pressure sensors
                                STAINLESS STEEL TUBE


                                               ~_L

                                       5 TO 10 mm INSIDE DIAMET;J"
                                              TYPE 1 - T-SHAPED SENSOR
                                   NOTE: TEE BRANCHES SHALL BE HORIZONTALLY ORIENTED




                   5 mm DIAME T E R l ~ r

                                     EXTERNAL THREAD
                                                       ,          I---+- - +
                                              SECTION B-B (olong probe oxis)


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           16 mm DIAMETER            l
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                                                                 > 50 mm
                                                                           j         SECnDN A-A
                                                                                 ( across probe o,ris)
                                                             2


                                               TYPE 2- l\JBE SENSOR
           SM655

9.2.12 The differential pressure ls to be measured by means of a manometer or equivalent transducer
capable of reading pressure in increments of 0.01 inch H2O (2.5 Pa) with a measurement precision of
0.005 inch H2O (1.25 Pa). The dlfferentfal pressure measuring instrument is to be located to mlnimize
" stack" effects resulting from vertical runs of pressure tubing between the furnace probe and instrument
locations.

9.2.13 The differential pressures are to be read at intervals not exceeding 2-1/2 minutes throughout the
fire test.

9.2.14 T he average furnace pressure 12 inches (305 mm) below the surface of the supporting
construction exposed to the fire shall not fall below a minimum of 0.01 inch H2O (2.5 Pa ) above
atmospheric pressure after the h,itial 1o minutes of fire exposure. The furnace pressure shall not fall below
a minimum of 0.01 inch H2O (2.5 Pa) for any period longer than 5 minutes after the initial 10 minutes of
fire exposure. The neutral pressure plane is to be below the test specimen.




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9.3 Temperature measurements on test specimen

9.3,1 Temperatures on the unexposed surfaces are to be measured with Type K (chromel-alumel)
thermocouples of 24 AWG (0.21 mm) wire. The wires are to be electrically insulated With heat- and
moisture-resistant coverings capable of withstanding a minimum single point temperature of 600°F
(315°C). The thermocouples are to be placed under flexible, dry, felted pads. The properties of these pads      0
                                                                                                                0
are to comply with the requirements specified in Requirements for Thermocouple Pads, Appendix B.                ("l
                                                                                                                C
                                                                                                                3
9.3.2 Roving thermocouples are to be as shown in Figure 8.6. The measuring junction of the
thermocouple is to consist of 1.0-mm diameter Type K thermocouple wire soldered or welded to a 12-mm            -
                                                                                                                Ill
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diameter, 0.5-mm thick copper dtsc. The thermocouple assembly is to be provided with a handle so it can
be applied over any point on the unexposed surface of the test specimen.

9.3.3 Temperature readings are to be taken at intervals not exceeding 5 minutes throughout the fire test.

9.4 Protection of test assembly and test equipment

9.4.1 The test equipment and the test assembly are to be protected from any condition of w1nd or weather
that influences the test results. The test assembly at the beginning of the test is to be within the range of
50 to 90°F (10 to 32°C).

9.5 Integrity
                                                                                                                "ff

9.5.1 The integrity of the test specimen is to be checked on the unexposed surface for the passage of
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flame and hot gases using a cotton waste pad in a wire frame provided with a handle.

9.5.2 The nominal 4- by 4- by 3/4-inch (100- by 100- by 19-mm) cotton waste pads are to consist of new,
undyed, and soft cotton fibers, without any admixture of artificial fibers, and each pad is to weigh 3 to 4
grams. The pads are to be conditioned prior to use by drying in an oven at 212 ±9°F (100 ±5°C) for at
least 30 minutes. After drying, the pads are to be stored in a desiccator for up to 24 hours.

9.5.3 The frame used to hold the cotton waste pad is to be formed of 16 AWG (1 .31 mm) steel wire and
is to be provided with a handle long enough to reach all points of the test assembly.

9.5.4 The cotton waste pad is to be held directly over an observed crack or hole in the test specimen, 1
± 1/4 inch (25,4 ±6 mm) from the breached surface, for a pertod of 30 seconds. Small adjustments in the
position of the cotton waste pad are not prohibited from being made when required to achieve the
maximum effect from the hot gases.

9.5.5 When no ignition (defined as glowing or flaming) of the cotton waste pad occurs during the
30-second application, ''screening tests" involving short duration applications of the cotton waste pad to
areas of potential failure and/or the movement of a single pad over and around such areas are to be
made. Charring of the pad provides an indication of imminent failure, and a previously unused cotton            ...;;;le
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waste pad is to be employed in the prescribed manner for an integrity failure to be confirmed .                 .....
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9.6 Observations during and after the test

9.6.1 Observations of the exposed and unexposed surfaces of the test assembly are to be made
throughout the fire test. All significant observations, such as deformation, spalli ng, cracking, burning of the
test assembly, and production of smoke, are to be recorded at maximum 15-minute time intervals.

10 External Fire Test, Fire Engulfment

10.1 Sample

10.1.1 The grease duct assehlbly is to be a minimum of 10 feet (3.05 m) long including an elbow and all
required supports in accordance with the requirements of the International Mechanical Code, or comply
with the requirements of the Standard for Grease Ducts, UL 1978. The grease duct assembly is to include
at least two joints inside the furnace and at least one joint outside the furnace. The grease duct assembly
is to be capped at the end inside the furnace and the end outside the furnace is to be connected to a fan
assembly.

10.1 .2 The grease duct is to be representative of the largest cross-sectional area and the maximum
width-to-height ratio. Insulation systems are to be installed in accordance with the manufacturer's
installation ihstructlons. Supports are to be stressed to represent the maximum load anticipated based
upon the manufacturer's installation instructions and provisions in the International Mechanical Code.

10.1.3 The grease duct assembly is to be as shown in Figure 10.1 or 10.2.




                                                                   Figure 10.1
                                                      Location of test assembly in furnace
                                                                                                    CONNECTED TO
                                                                                                    fAN ASSEMBLY


                                                                                        CREASE DUCT
                                                                                        ENCLOSURE MATERIAL
                                                                                                                                                         36tllrtc:h
                                                                                                                                                         (910i2~m)
                                            CREASE DUCT                                             SUPPORTING
                   f'URNACE CHAMBER                                                                 CONSTRUCTION
                                            ... : ,,                                           . ·. . .... .. . . ..
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                                                                                                                                     !                         FIRESTOP
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                                                  Figure 10.2
                                     Location of test assembly in furnace
         HORIZONTAL RESTRAINT
                                                         2 n. (6t<m) MIi
                                                                            HORIZONTAL
                                                                             RESTRAINT

                                                                               C(N(Cl£0 10 f#I
                                                                                   ASS[lll.Y




                                           8
                                SEC A-A
GREASE      HANGER
 DUCT        WIRE           FURNACE
                              WALL




     'A

                                                                                        SEC 8-8


                                                        HORIZONTAL
HORIZONTAL RESTRAINT                                    RESTRAINT




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                   DIS TRIB TION WITHOUT p Rfl. ,ss,oN FRO~I u



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10.1.4 There is to be a clearance of 20 ±2 inches (508 ±50 mm) between the top of the test specimen
and the supporting construction. There is to be a minimum clearance of 20 inches (508 mm) between the
bottom of the test specimen and the floor of the furnace and a minimum clearance of 20 inches (508 mm)
between the sides of the test specimen and the furnace walls and between adjacent test specimens.

10.2 Duct pressure

10.2.1 Prior to the start of the fire test. the pressure inside the grease duct c1ssembly is to be 1.2 ±0.04
i11ch H20 (300 ±10 Pa) below the ambient (laboratory) pressure. The fan setting required to obtain this
pressure is not to be altered during the fire test.

10.3 Conduct of fire test

10.3.1 The fire test is to be conducted in accordance with External Fire Tests, General, Section 9, for a
tfme period at least equal to the ratfng period.

10.3.2 The fan is to be stopped for a 5-minute period 10 minutes before the completion of every
30-minute period of the test.

10.4 Acceptance criteria

10.4.1 Stability failure shall be deemed to have occL1tred when the duct collapses at any place in excess
of 25% of the cross-sectional area of that place, an opening develops in the grease duct, or the grease
                                                                                                                .,,
duct falls from the supporting constructfon.
                                                                                                                ...
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10.4.2 Integrity failure shall be deemed to have occurred when conditions on the unexposed surface
results in the ignition of the cotton waste or when flames are obseNed emitting from the unexposed
surface.

11 External Fire T est, Firestop

11 .1 Sample

11 .1.1 The test sample shall comply with the requirements of Figure 10,1 or 11.1 .2, 11 .1.3, 11.1.4, and
11 .1.5. The firestop test is to be conducted either at the same time as the fire engulfment test, by test in
accordance with 11.1.2 through 11 . 1.5, or by test in accordance with the Standard for Fire Tests of
Through-Penetration Firestops, UL 1479 (Standard Test Method for Fire Tests of Through-Penetration
Ftrestops, ASTM E814).

11.1.2 The grease duct is to be representative of the largest cross-sectional area and the maximum
width-to-height ratio to be used. Insulation systems are to be installed in accordance with the
manufacturer's installation instructions.

11.1.3 The grease duct is to extend 12 ±1 inches (300 ±25 mm) from the exposed side of the supporting
construction and 36 ±1 inches (910 ±25 mm) from the unexposed side of the supporting construction. T he
extended portions of the grease duct assembly on the unexposed side are to be supported by methods
intended to be employed in the field installation.




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11.1.4 The end of the grease duct in the furnace chamber is to be sealed and covered with the grease
duct enclosure materials. The end of the grease duct outside of the furnace chamber is to be connected
to a fan assembly.

11.1.5 The periphery of the test specimen is to be not closer than 1-1/2 times the thickness of the
supporting construction or a minimum of 12 inches (300 mm) to the furnace edge, Whichever is greater.
The distance between the test specimen periphery and the furnace edge is capable of being reduced
when it is demonstrated that the edge effects do not affect the tests results.

11.2 Duct pressure

11.2.1 Prior to the start of the fire test, the pressure inside the grease duct assembly is to be 1.2 ±0.04
inch H2O (300 ±10 Pa) below the ambient (laboratory) pressure. The fan setting required to obtain this
pressure is not to be altered during the fire test.

11 .3 Temperature measurements on test assembly

11.3.1 The temperatures on the unexposed surface of the test assembly shall be measured with
thermocouples located as shown in Figure 11.1.

        a) At points on the surface of the firestop, 1 inch (25.4 mm) from each side of the test
        specimen,

        b) At the periphery of the opening on each side of the test specimen,

        c) At points on the surface of the firestop, equidistant from each side of the test specimen and
        the periphery of the opening,

        d) At a point on any frame installed around the periphery of the opening,

        e) At a point on the unexposed surface of the supporting construction at least 12 inches (300
        mm) from the periphery of the opening, and

        f) At points on each side of the grease duct, 1 inch (25.4 mm) from the unexposed surface of
        the supporting construction. The thermocouples are to be located on the exterior surface of the
        Insulation. When the insulation does not extend the full length of the grease duct assembly on
        the unexposed side, additional thermocouples are to be installed on the grease duct 1 inch
        (25.4 mm) beyond the termination of the insulation.




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                                                     Figure 11.1
                                          Temperature measurement locations



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See 11 .3.1 for a description of lhe lellered symbols.




11.3.2 Temperature measurements are to be made at locations in addition to those described in 11.3.1
when it is determined they are required for the purpose of evaluating the performance of the firestop.

11 .4 Conduct of fire test

11.4.1 The fire test is to be conducted in accordance with External Fire Tests, General, Section 9, for a
tfme period at least equal to the rating period.

11.5 Acceptance criteria

11.5.1 Insulation failure of the firestop system shall be deemed to have occurred when the temperature
rise recorded by any thermocouple on the unexposed surface exceeds 325°F (181°C) above the fnitial
starting temperature.

11.5.2 Integrity failure of the firestop system shall be deemed to have occurred when conditions on the      ~
unexposed surface results in the ignition of the cotton waste or when flames are observed emltting from
the unexposed surface.
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12 Hose Stream Test

12.1 Test method

12.1.1 The hose stream test shall be conducted on the test assembly .used for the fire engulfment test
and for the firestop test. Immediately after the fire exposure, the test assembly is to be subjected to the
impact, erosion, and cooling effects of a hose stream directed first at the middle and then at all other parts
of the exposed faces, with all changes in direction being made slowly. All exposed surface area of the
firestop assembly shall be subjected to the impact of the hose stream. The grease duct shall not shield
the firestop assembly from the hose stream.

12.1.2 The stream is to be delivered through 2-1 /2-inch (64-rnrn) hose and discharged through a National
Standard playpipe of corresponding size equipped with a 1-1/8-inch (29-rnm) discharge tip of the
standard-taper, smooth-bore pattern without a shoulder at the orifice. The minimum water pressure at the
base of the nozzle is to be 30 psi (207 kPa). The minimum duration of application is to be as specified in
Table 12.1.

                                                         Table 12.1
                                               Ourati.on of hose stream test

                  Hourly fire rating time, minutes                  Duration of application, seconds per squ are foot (s/m 2)
                                                                                       of exposed area•
                          120 S Ume < 240                                                    1.0 (10.8)
                           90 s lime< 120                                                    0,90 (9. 7)
                              time< 90                                                       0.60 (6.5)
     • The rectangular area of the supporting structure in which the lest specimen is mounted is to be identified as the
     exposed area, as the hose stream rnust traverse lhls calculated area during application.

12.1.3 The nozzle orifice is to be a maximum 20 feet (6.1 m) from the center of the exposed surface of
the test assembly when the nozzle is located so that, when directed at the center, its axis is normal to the
surface of the supporting construction. When the nozzle is unable to be so located, it is to be on a lrne
deviat1ng not more than 30° from the line normal to the center of the test assembly. When so located, its
distance from the center is to be less than 20 feet by an amount equal to 1 foot (305 mm) for each 10
degrees of devfatfon from the normal.

12.2 Accept,mce criteria

12.2.1 The test specimen shall remain suspended from the supporting construction and the water stream
shall not pass through either the duct or the firestop assembly.

12.2.2 Should the water stream pass through the firestop assembly and the test specimen remain
suspended from the supporting construction, the firestop assembly shall comply with the requirements for
hose stream performance as specified in the Standard for Fire Tests of Through-Penetratron Firestops,                               ...iv5:'!
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UL 1479. or the Standard Test Method for Fire Tests of Penetration Firestop Systems, ASTM E814.                                     ...
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13 Assembly Rating

13.1 Conditions of acceptance

13.1.1 The materials used to construct the grease duct enclosure shall comply with 5.2, 6.2.2, 6.3.2, and
7.2.

13.1.2 During the internal fire test, the test specimen shall comply with the acceptance criteria defined in
8.7.

13.1.3 Dudng the fire engulfment test, the test specfmen shall demonstrate stability and Integrity
performance during the entire rating period and shall meet the acceptance criteria of Section 10.4.

13.1.4 During the firestop test, the firestop system shall demonstrate insulation and integrity performance
during the entire rating period and shall meet the acceptance criteria of Section 11.5.

13.1.5 During the hose stream test, the grease duct enclosure and the firestop shall comply with the
acceptance criteria defined in 11.3.

13.2 Correction

13.2.1 When the indicated rating period time for the test specimen in the external fire tests is 60 minutes
or more, the indicated rating shall be increased or decreased by the following correction to compensate
for significant variation of the measured test furnace temperature from the standard temperature-time
curve within the limits of 9.2.9. The correction shall be expressed by the following formula :


                                   C = 2l(A -A 5 )
                                           J ( As + L)




in which:

        C is the correction in the same units as I,

        I is the indicated fire resistance period,

        A is the area under the curve of measured average furnace temperature for the first three-
        fourths of the indicated period,

        A 5 is the area under the standard time-temperature curve for the same part of the indicated
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        period, and

        L is the lag correction in the same units as A and As [54°F-hours (12°C-hours); 3240"F-minutes         ~
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        (1780°C-minute)J-                                                                                      ,,
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REPORT

14 General

14.1 The performance of the test samples during the material performance tests of Sections 5 - 7 and
during the assembly performance tests of Sections 8, 10, 11 , and 12 shall be reported. The report shall         0
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include the following:                                                                                           0
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        a) Identification of the testing laboratory and ldentification of the employer of the personnel who
        witnessed the preparation of the samples and tests,
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        b) A descr,iption of the materials and construction details of the test samples. For the assembly
        performance tests, the description shall include drawings depicting geometry of the test
        assemblies, exact size of the grease duct {length, width , and thickness), and the location and
        types of splices and access openings In the grease duct,

        c) A description of the process used for conditioning the test samples,

        d) For the samples used in the external fire tests, the dates of construction, and the results of
        the final moisture content measurements,

        e) Locations of all thermocouples, pressure probes, and other instrumentation used during the
        tests,

        f) The results of each material performance test,

        g) A record of all temperature and pressure measurements at the beginning of each internal
        and external fire at maximum 5-minute time intervals throughout the fire tests except during the
        Internal fire test after equilibrium temperatures are reported. From the time when equlllbnum
        temperatures are reported and until the end of the test, temperatures shall be reported at
        intervals not exceeding 0.5 minute.

        h) Observations of the exposed and unexposed surfaces of the test assembly during the
        internal and external fire tests,

        I) The locations. times, and results of each application of the cotton waste pad,

        j) Stgnificant deflections of the supporting construction during the external fire tests shall be
        described by indicating the location, time, and magnitude of each deflection measurement,

        k) The time at which any of the end point criteria was reached on the test specimen during
        each internal and external fire test. rounded to the nearest integral minute. The end point lime
        shall include any required correction for significant variation between the measured furnace             ...1'ile
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        temperature and the standard lime-temperature curve,
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        I} The details and results of the hose stream test,                                                      ~
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        m) The condition represented during the internal fire test,                                              ,,
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        n) The distance between the grease duct enclosure material and the plywood enclosure when
        Condition B is represented during the internal fire test, and


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        o) The hourly rating of the fire resistive grease duct enclosure assembly which shall be the
        minimum rating period as determined by 13.1.3 and 13.1.4.



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APPENDIX A

A.1 Standard Time-Temperature Curve for Control of Fire Tests

                   Temperature,        Area above 68"F base              Temperature,      Area above 20°C base
                        •F                                                    'C
  Time, hr:min                      "F min                   ' F hr                       ' C min         •c hr
      0:00              68            00                   0                  20             00             0
      0 :05           1 000         2 330                  39                538           1 290           22
      0 :10           1 300         7 440                 129                704           4 300           72
      0 :15           1 399         14 150                236                760           7 860           131
      0:20            1 462         20 970                350                796          11 650           194
      0:25            1 510         28050                 468                821          15 590           260
      0:30            1 550         35 360                589                843          19 650           328
      0 :35           1 584         42 860                714                862          23 8 10          397
      0:40            1 613         50 510                842                878          28 060           468
      0 :45           1 638         58 300                971                892          32 390           540
      0:50            1 661         66 200               1 103               905          36 780           613
      0:55            1 681         74 220               1 237               916          41 230           687
      1:00            1 700         82 330               I 372               927          45 740           762
      1:05            1 718         90 540               1 509               937          50 300           838
      1:10            1 735         98 830               1 647               946          54 910           915
                                                                                                                       -n
      1:15            1 750         107 200              1 7f37              955          59560            993         ...
                                                                                                                       0
      1:20            1 765         115 650              1 928               963          64250           1 071
      l:25            1 779         124 180              2070                971          68 990          1 150
      1:30            1 792         132 760              2 213               978          73 760          1 229
      1:35            1 804         141 420              2 357               985          78560           1 309
      1:40            1 815         150 120              2 502               991          83 400          1 390
      1:45            1 826         ~58 890              2 648               996          88 280          1 471
      1:50            1 835         16/ 700              2 795              1 001         93 170          1 553
      1:55            1 843         176 550              2942               1 006         98 080          1 635
      2:00            1 850         185 440              3 091              1 010         103 020         1 717
      2:10            1 862         203 330              3 389              1017          112 960         1 883
      2:20            1 875         221 330              3 689              1 024         122 960         2 049
      2 :30           1 888         239 470              3 991              1 031         133 040         2 217
      2:40            1 900         257 720              4 295              1 038         143 180         2 386
      2:50            1 912         276 110              4 602              1 045         153 390         2 556
      3:00            1 925         294 610              4 910              1 052         163 670         2 728
      3:10            1 938         313 250              5 221              1 059        174 030          2 900
      3 :20           1 950         332 000              5 533              1 066        184 450          3 074
      3:30            1 962         350 890              5 848              1 072        194 940          3 249
      3:40            1 975         369 890              6 165              1 079        205 500          3 425
      3 :50           1 988         389 030              6 484              1 086        216 130          3 602
      4:00            2 000         408 280              6 805              1 093        226 820          3 780
      4:10            2 012         427 670              7 128              1 100        237 590          3 960
      4:20            2 025         447 180              7 453              1 107        248 430          4 140
      4:30            2 038         466 810              7 780              1 114        259 340          4 322
      4:40            2 050         486 560              8 110              1 121        270 310          4 505
      4:50            2062          506 450              8 441              1 128        281 360          4 689
      5:00            2 075         526 450              8 774              1 135        292 470          4 874
      5 :10           2 088         546 580              9 110              1 142        303 660          5 061

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                                                 Table Continued

                      Temperature,      Area above 68°F base       Temperature,       Area ab ove 20°C base
                          •F                                            ·c
     Time, hr:min                      °F min          °F hr                         ·c min           •c hr
        5:20             2100          566 840         9 447          1 149          314 910          5 248
         5:30            2 112         587 220         9 787          1 156          326 240          5 437
        5:40             2 125         607 730         10 129         1 163          337 630          5 627
         5:50            2 138         628 360         10 473         1 170          349 090          5 818
         6:00            2150          649 120         10 819         1 177          360 620          6 010
         6:10            2 162         670 000         1 1 167        1 184          372 230          6 204
         6:20            2 175         691 010         11 517         1 191          383 900          6 398
         6:30            2 188         712 140         11 869         1 198          395 640          6 594
         6:40            2 200         733 400         12 223         1 204          407 450          6 791
         6:50            2 212         754 780         12 580         1 211          419 330          6 989
         7:00            2 225         776 290         12 938         1 218          431 270          7 188

         7: 10           2238          797 920         13 299         1 225         443 290           7 388
         7:20            2 250         819 680         13 661         1 232         455 380           7 590
         7:30            2262          841 560         14 026         1 239         467 540           7792
         7:40            2275          863 570         14 393         1 246          479 760          7 996
         7:50            2 288         885 700         14 762         1 253          492 060          8 201
         8:00            2 300         907 960         15 133         1 260          502 420          8 407




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APPENDIX B

8 .1 Requirements for Thermocouple Pads

81 .1 Refractory fiber materiala shall be used for thermocouple pads, provided that distortion of the
unexposed face of the test specimen is insignificant. Such material is not to be used on surfaces subject       0
                                                                                                                0
to sharp distortions or discontinuities during the test. A pad formed from this material shall have the         0
                                                                                                                c;
following characteristics:                                                                                      3

         a) Length and width - 6 ± 1/8 inches (152 ±3 mrn) for the internal fire test and 2 ± 1/8 inches (5 1   -
                                                                                                                Ill
                                                                                                                :,



         ±3 mm) for the external tests,

         b) Thicknessb - 0.375 ±0.063 inch (9.5 ± 1.6 mm),

         c) Dry Weight - 0.147 ±0.053 pounds (67 ±24 g),

         d) Thermal conductivity at 150°F (66°C) - 0.37 ±0.03 Btu-inch per hour per square foot per
         degree F (0.053 ±0.004 W/m K), and

         e) Hardnessc (on soft face) - 2.25 to 4.5 (modified 8 rinnell).

3
Thermal Ceramics Ceraform 126, or the equivalent, has been found to be an acceptable refractory fiber
material.

bThe thickness measurement shall be made under the light load of a 1/2-inch (12.7-mm) diameter pad of
a dial micrometer gage.

CThe hardness measurement shall be made by pressing a 1-inch (25.4-mm) diameter steel ball against
the specimen and measuring the 1ndentation obta1ned between a minor load of 2 pounds-mass (0.91 kg)
and an additional major load of 10 pounds-mass (4.5 kg) [12 pound-mass (5.4 kg) total load]. The
hardness is obtained by the relationship:

                                              Hardness = 2.24/y
in which:

         y is the difference in indentation in inches.

81 .2 The pads are not to break when shaped to contact the surface against which they are placed.



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